10 CV 5981 (RA)(GWG)

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK


NAOMI DAVIES,

                                                  Plaintiff,
                          -against-

NEW YORK CITY DEPARTMENT OF EDUCATION; SARA
SCROGIN,
                                                Defendants.



PLAINTIFF'S MEMORANDUM OF LAW IN OPPOSITION
               TO DEFENDANTS'
       MOTION FOR SUMMARY JUDGMENT


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            REPRODUCED ON RECYCLED PAPER
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                       x
NAOMI DAVIES,

                                   Plaintiff,
                  -against-


CITY OF NEW YORK, NEW YORK CITY                                 10 Civ. 5891 (RA)(GWG)
DEPARTMENT OF EDUCATION; and SARA
SCROGIN,                                                        Oral Argument Requested


                                  Defendants
                                                       x


                PLAINTIFF'S MEMORANDUM OF LAW IN OPPOSITION
               TO DEFENDANTS' MOTION FOR SUMMARY JUDGMENT

                                 PRELIMINARY STATEMENT

        Plaintiff Naomi Davies, a tenured English teacher who was employed by the New York

City Department of Education (NYCDOE) and who has been ordered to be reinstated to her

employment by New York State Supreme Court justice Manuel Mendez after an Article 75 state

court proceeding, submits this memorandum of law in opposition to Defendants' motion for

summary judgment, in order to explain that there are numerous triable issues of material fact

regarding her retaliation claims under the Family Medical Leave Act (FMLA) that warrant a trial

before a jury in this case.

        Under existing law in this Circuit, Plaintiff clearly has a triable retaliation cause of action

based on the fact that she had an absolutely clean and satisfactory performance record for more

than 20 years of teaching until she was forced to take various medical leaves at her new school,

the East Bronx Academy for the Future (EBA), based on the hostile treatment she was enduring

from her out of control students, including being repeatedly physically and sexually assaulted

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and injured by her students. Despite taking a medical leave and then an FMLA leave, and after

filing dozens of incident reports regarding student misbehavior, the school administration failed

to adequately address her complaints and even wrote her up for excessive absenteeism upon her

return from approved medical leave in January 2008. In addition, shortly after she returned to

her duties from the medical leave, she was subject to a barrage of criticism about her teaching

performance by the school administration commencing in January 2008, including being written

up 42 times over the next year and a half as an incompetent teacher, and for various alleged

disciplinary infractions. In May 2009, the Defendants turned this deluge of unwarranted write-

ups and unsatisfactory observations into an overwhelming array of Section 3020-a disciplinary

charges and specifications against her, which were eventually almost entirely rubber stamped by

a hearing officer/arbitrator selected without her input by the NYCDOE and UFT in upholding

her termination, in the hearing officer's decision dated December 18, 2010.    See Section 3020-a

procedure, annexed as Exhibit 1 to accompanying Declaration of Bryan D. Glass (Glass

Declaration).

       However, upon appeal of the hearing officer's decision to New York State Supreme

Court via an Article 75 state court vacatur proceeding, Justice Manual Mendez found the hearing

officer's termination decision to be shocking to the conscience and ordered that Ms. Davies be

reinstated to her position with a lesser penalty, by decision, dated June 14, 2012.   See Justice

Mendez's decision, Index No. 100349/11, annexed to Glass Declaration as Exhibit 2. This

decision is presently being appealed by Defendants, who have not yet even perfected the appeal

of Justice Mendez's decision for more than 6 months, with the clear intention to keep Plaintiff

from returning to work by invoking an automatic stay of Justice Mendez's decision. To date,




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Plaintiff has not been able to return to work pending the Defendants' appeal of Justice Mendez's

decision.

       Under these circumstances, given the vacatur of the hearing officer's termination

decision, and the fact that Plaintiff had a completely clean disciplinary record before she took her

medical leaves in the fall of 2007 and her return to school in January 2008, there is a clear

inference of FMLA retaliation by Defendants against Plaintiff that warrants a jury trial on her

claims based on the timing of events, as explained in further detail herein. On these issues, the

Court also should allow Plaintiff's FMLA retaliation claim to proceed to trial.




                                                 3
                                             ARGUMENT

                                               POINT I

         THERE SHOULD BE A JURY TRIAL ON PLAINTIFF'S FMLA
         RETALIATION-BASED CLAIMS.

         In Burkybile v. Board of Education of the Hastings-on-Hudson Union Free School

District, 411 F.3d 306 (2d Cir.), cent. denied, 546 U.S. 1062 (2005), the Second Circuit Court of

Appeals considered the collateral estoppel effect of a Section 3020-a disciplinary trial against a

pedagogue and found that a pedagogue could not litigate retaliation charges after being

terminated after disciplinary charges in a Section 3020-a hearing. The Court held that the

"Section 3020-a hearing is an administrative adjudication that must be given preclusive effect."

See id     (citing University of Tennessee v. Elliott, 478 U.S. 788 (1986)). While Plaintiff

recognizes the holding in Burkybile, this case is distinguishable and unusual because a State

Supreme Court Justice has vacated the Hearing Officer's finding of termination in this case, and

there is a clear inference of retaliation based on the timing of events herein. See Theresa Reel v.

NYCDOE, 09 Civ. 7322 (S.D.N.Y.) (reported settlement of $450,000 for teacher retaliated by

school administration against after reporting being sexually and physically abused at the school);

Donnelly v. Greenburgh Central School District No. 7, 11 CV 2448 (August 10, 2012) (citing

Cosgrove v. Sears, Roebuck & Co., 9 F.3d 1033 (2d Cir. 1993) (allowing FMLA retaliation

claim to proceed to trial and denying summary judgment). The material facts herein should

allow Plaintiff's retaliation claims to proceed to trial.

         Clearly, there is a triable issue of fact on the Plaintiffs retaliation claim—i. e, the

disciplinary charges and the 3020-a proceeding were brought falsely against Plaintiff based on

unlawful retaliatory motives. See Ibok v. Securities Industry Automation Corp., 389 Fed. Appx.

210 (2d Cir. 2010) (plaintiff need only show that a retaliatory motive played a part in the alleged

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adverse employment action, even if it was not the sole cause); Morey v. Somers Central School

District, 2007 WL 867203 (S.D.N.Y. 2007) (substantiation of charges not inconsistent with

finding that defendants were retaliated in some part by retaliation); Saunders v. NYCDOE et al.,

2010 WL 2985031 (E.D.N.Y. July 20, 2010), at *8 ("whether a retaliatory motive played some

part in motivating these adverse actions, is not precluded and remains a genuine dispute of a

material fact raising an issue for trial", and denying DOE's motion for summary judgment on

retaliation claim after teacher received four month suspension in Section 3020-a proceeding);

Jeter v. NYCDOE, 2012 WL 2885140 (E.D.N.Y. July 13, 2012) (denying DOE's motion for

summary judgment on Title VII retaliation claim after guidance counselor was found guilty of a

few specifications by hearing officer in Section 3020-a proceeding).

       While Plaintiff acknowledges that the Hearing Officer sustained incompetency-based

specifications against her, this does not preclude a triable issue of fact on Plaintiff's retaliation

claim. See Saunders v. NYCDOE, supra (allowing retaliation claim to proceed to trial despite

teacher receiving four month suspension after 3020-a case); Jeter v. NYCDOE, supra (allowing

retaliation claim to proceed to trial despite several specifications being sustained against

Plaintiff). It also must be acknowledged that the incompetency based specifications were based

on nothing more than subjective self-serving observations initiated by the very administrators

who sought to terminate Plaintiff's employment. Plaintiff never received a single written

unsatisfactory observation from school administration before she took the medical leave of

absence, nor any write-ups or observations whatsoever, until her return from leave in January

2008, after more than 20 years of satisfactory and discipline-free teaching.

       Under these circumstances, there is a logical causal and inferential connection between

Plaintiff's medical leaves and the adverse actions she suffered thereafter by the school


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administrators after she took and returned from the medical and FMLA leave. See Fierro v. City

of New York, NYCDOE,        591 F.Supp.2d 431 (S.D.N.Y. 2008) ("[t]emporal proximity is strong

circumstantial evidence of improper intent"). As Plaintiff explained in her deposition, included

as a joint exhibit to this summary judgment motion as agreed to by the parties, and in her

accompanying Declaration, annexed as Exhibit 3 to the Glass Declaration, Plaintiff only started

to receive any criticism about her teaching skills and performance after returning from a medical

leave in January 2008, and filing numerous incident reports about student misbehavior that went

unaddressed by administration.        See, e.g., Davies Deposition Tr. 87 (referencing 80 incident

reports filed by Plaintiff with the school). For these reasons, this case is remarkably similar to

the Theresa Reel case cited above (another teacher who also was retaliated against for filing

incident reports of student misbehavior, including sexual and physical assaults, to school

administration) and therefore the summary judgment motion should be denied and the retaliation

based claims must proceed to trial.

       It also must be finally noted that contrary to Principal Scrogin's representation in her

affidavit, Plaintiff has no idea whether two teachers took FMLA leave and received satisfactory

ratings, as Defendants notably fail to reveal the identity of these two teachers. As set forth in

her accompanying Declaration, Plaintiff is aware of two other teachers, Jane Lewinter, who tried

to take leave and was denied by the principal on or about the same school year, who has her own

pending federal retaliation case against the same school administration, and a probationary

teacher, Ruth Perry, who ultimately resigned after being harassed by school administration after

taking a pregnancy leave.




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                                        CONCLUSION

       For the foregoing reasons Plaintiff respectfully requests that the Court issue an order

denying Defendants' motion for summary judgment in its entirety, allow this action to proceed to

trial on her FMLA retaliation claims, and grant such other and further relief, including

reasonable attorneys' fees and costs, as the Court may deem just and proper.



Dated: New York, New York
       February 4, 2013

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